Case 3:19-bk-30822        Doc 6     Filed 04/24/19 Entered 04/24/19 10:46:56              Desc Main
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This document has been electronically  entered in the records of the United
                                      
States Bankruptcy Court for the Southern District of Ohio.
                                            
                                            
 IT IS SO ORDERED.                          
                                            
                                            
                                            
                                            
Dated: April 24, 2019
                                            
                                            
                                            
                                            
________________________________________________________________
                                            
                                            
                           UNITED STATES BANKRUPTCY COURT 
                          FOR THE SOUTHERN DISTRICT OF OHIO 
                              WESTERN DIVISION AT DAYTON 
 
                                            
In re:  TAGNETICS INC.                      
                                             Case No.  19‐30822 
                                              
                                             Judge Humphrey 
                                             Chapter 7 
                                              
                                              
 

    Order Requiring Filing of Corporate Ownership Statements and Ordering Other Matters 

 
        On March 19, 2019 petitioning creditors, Kenneth W. Kayser, Ronald E. Early, Kayser 
Ventures  Ltd,  Jonathan  Hager,  Robert  Strain  and  S‐Trek  Inc.,  appearing  pro  se,  filed  an 
Involuntary Chapter 7 Petition (doc. 1) against Tagnetics Inc.  
 
        However,  the  corporate  petitioners,  Kayser  Ventures  Ltd  and  S‐Tek  Inc.,  have  not 
filed  the  corporate  ownership  statements  required  by  Federal  Rules  of  Bankruptcy 
Procedure  1010(b)  and  7007.1.  More  importantly,  corporations,  except  as  permitted  by 
Federal Rule of Bankruptcy Procedure 9010(a), are only authorized to appear on matters in 
this  court  through  counsel  admitted  to  practice  in  this  court  and  “[n]o  corporation  shall 
file a petition . . . unless it is represented by an attorney.” See Local Bankruptcy Rules 1074‐1 
and 9011‐2(b).  
 


 
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        Accordingly, Kayser Ventures Ltd and S‐Tek Inc. shall have until and including May 
14, 2019 to obtain and be represented by counsel with respect to the involuntary petition in 
this case and to file corporate ownership statements in accordance with Bankruptcy Rules 
1010(b) and 7007.1. 
         
        To  the  extent  that  Kayser  Ventures  Ltd  and  S‐Tek  Inc.  fail  to  comply  with  the 
provisions of this order, the court may not consider the corporate petitioners for purposes 
of determining the appropriateness of granting an order of relief under Chapter 7 of Title 
11 of the United States Code. 
 
        IT IS SO ORDERED. 
 
Copies to: 
 
All creditors and parties in interest 
 
 




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